895 F.2d 1468
    283 U.S.App.D.C. 46
    Unpublished DispositionNOTICE: D.C. Circuit Local Rule 11(c) states that unpublished orders, judgments, and explanatory memoranda may not be cited as precedents, but counsel may refer to unpublished dispositions when the binding or preclusive effect of the disposition, rather than its quality as precedent, is relevant.UNITED STATES of Americav.Walter BLANCO, Appellant.
    No. 90-3010.
    United States Court of Appeals, District of Columbia Circuit.
    Feb. 26, 1990.
    
      Before RUTH B. GINSBURG, STEPHEN F. WILLIAMS and SENTELLE, Circuit Judges.
      JUDGMENT
      PER CURIAM.
    
    
      1
      This case was considered on the record on appeal from the United States District Court for the District of Columbia and on the papers filed by the parties.  The court has determined that the issues presented occasion no need for a published opinion.  See D.C.Cir.Rule 14(c).  It is
    
    
      2
      ORDERED that appellant's motion for reinstatement of an earlier trial date be denied.  Appellant did not note an appeal from the district court's order filed January 22, 1990, which granted the continuance until March 21, 1990.  It is
    
    
      3
      FURTHER ORDERED and ADJUDGED that the district court's memorandum and order filed on January 29, 1990, be affirmed substantially for the reasons stated therein.  Appellant charges that the district court erred by basing its decision to deny him pretrial release primarily on the conduct of two defendants in an unrelated case.  We agree that the absconding of defendants in an unrelated case has virtually no bearing on the propensity of the defendant before the court to flee.   See Stack v. Boyle, 342 U.S. 1, 9 (1951) (Jackson, J., concurring) ("Each defendant stands before the bar of justice as an individual.").  It is plain, however, that the record contains ample evidence, cited by the district judge, to support continued pretrial detention.  Given the nature and circumstances of the crack cocaine distribution charges against the defendant, the evidence on those charges, the defendant's foreign citizenship and the statutory presumption of danger to the community and risk of flight, we find no grounds for disturbing the district court's ultimate decision.  It is
    
    
      4
      FURTHER ORDERED that appellant's motion for expedition be dismissed as moot.
    
    
      5
      The Clerk is directed to withhold issuance of the mandate herein until seven days after disposition of any timely request for rehearing.  See D.C.Cir.Rule 15.
    
    